                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF IOWA
                                CENTRAL DIVISION

 LIGURIA FOODS, INC.,

                                                               No. C 14-3041-MWB
                 Plaintiff,
 vs.
                                                       MEMORANDUM OPINION AND
 GRIFFITH LABORATORIES, INC.,                            ORDER REGARDING THE
                                                        COURT’S ORDER TO SHOW
                                                      CAUSE WHY COUNSEL FOR BOTH
                 Defendant.
                                                         PARTIES SHOULD NOT BE
                                                       SANCTIONED FOR DISCOVERY
                                                                 ABUSES

                                ___________________________


                                    TABLE OF CONTENTS
I.       INTRODUCTION........................................................................... 6
         A.   Factual Background ............................................................... 6
              1.    The nature of the litigation ............................................... 6
              2.    Potentially obstructionist discovery responses ......................... 7
         B.   Procedural Background ......................................................... 17
              1.    Pretrial matters ........................................................... 17
              2.    The Show Cause Order.................................................. 17
         C.   Responses Of The Parties To The Order To Show Cause ................ 18
              1.    Responses in briefs ....................................................... 18
              2.    Responses at the evidentiary hearing ................................. 19
II.      LEGAL ANALYSIS ...................................................................... 21
         A.  Proper Discovery Responses .................................................... 22
         B.  Improper discovery responses .................................................. 30
         C.  Sanctions ........................................................................... 34
III.     CONCLUSION ............................................................................ 40



                                                  1

       Case 3:14-cv-03041-MWB-CJW Document 136 Filed 03/13/17 Page 1 of 45
              “Laws are like sausages, it is better not to see them being
              made.”
                     —Otto von Bismarck


      This litigation is about who is responsible for tons and millions of dollars’ worth
of sausage, of the peperoni variety, some of which turned rancid. It’s also about lawyers
who were not concerned about how the federal discovery rules were made, but how and
why they flaunted them. This ruling involves one of the least favorite tasks of federal
trial and appellate judges—determining whether counsel and/or the parties should be
sanctioned for discovery abuses. This case squarely presents the issue of why excellent,
thoughtful, highly professional, and exceptionally civil and courteous lawyers are
addicted to “boilerplate” discovery objections.1     More importantly, why does this


      1
          As one commentator explained,
              The hallmark of a boilerplate objection is its generality. The
              word “boilerplate” refers to “trite, hackneyed writing”—an
              appropriate definition in light of how boilerplate objections
              are used. An objection to a discovery request is boilerplate
              when it merely states the legal grounds for the objection
              without (1) specifying how the discovery request is deficient
              and (2) specifying how the objecting party would be harmed
              if it were forced to respond to the request. For example, a
              boilerplate objection might state that a discovery request is
              “irrelevant” or “overly broad” without taking the next step to
              explain why. These objections are taglines, completely
              “devoid of any individualized factual analysis.” Often times

                                            2

    Case 3:14-cv-03041-MWB-CJW Document 136 Filed 03/13/17 Page 2 of 45
widespread addiction continue to plague the litigation industry when counsel were unable
to cite a single reported or non-reported judicial decision or rule of civil procedure from
any jurisdiction in the United States, state or federal, that authorizes, condones, or
approves of this practice? What should judges and lawyers do to substantially reduce or,
more hopefully and optimistically, eliminate this menacing scourge on the legal
profession? Perhaps surprisingly to some, I place more blame for the addiction, and
more promise for a cure, on the judiciary than on the bar.2 What follows is my ruling


              they are used repetitively in response to multiple discovery
              requests. Their repeated use as a method of effecting highly
              uncooperative, scorched-earth discovery battles has earned
              them the nicknames “shotgun”- and “Rambo”-style
              objections. The nicknames are indicative of the federal courts’
              extreme disfavor of these objections.
Matthew L. Jarvey, Boilerplate Discovery Objections: How They are Used, Why They
are Wrong, and What We Can Do About Them, 61 DRAKE L. REV. 913, 914-16 (2013)
(footnotes omitted).
       2
         My views on the extent of the scourge and the possible cures are not entirely
idiosyncratic—or even new. See, e.g., Stanley P. Santire, Discovery Objections Abuse
In Federal Courts: “. . . Objecting to Discovery Requests Reflexively—But Not
Reflectively . . .,” 54-AUG HOUS. LAW. 24 (2016); Hon. Paul W. Grimm and David S.
Yellin, A Pragmatic Approach to Discovery Reform: How Small Changes Can Make a
Big Difference in Civil Discovery, 64 S.C. L. REV. 495 (2013); Jarvey, Boilerplate
Discovery Objections, 61 DRAKE L. REV. 913; Mitchell London, Resolving the Civil
Litigant’s Discovery Dilemma, 26 GEO. J. LEGAL ETHICS 837 (2013); Chief Justice Menis
E Ketchum II, Impeding Discovery: Eliminating Worthless Interrogatory Instructions
And Objections, 2012-JUN W. VA. L. 18 (2012); John H. Beisner, Discovering A Better
Way: The Need for Effective Civil Litigation Reform, 60 DUKE L.J. 547 (2010); John S.
Beckerman, Confronting Civil Discovery’s Fatal Flaws, 84 MINN. L. REV. 565 (2000);
Robert L. Nelson, The Discovery Process as a Circle of Blame: Institutional,
Professional, and Socio-economic Factors that Contribute to Unreasonable, Inefficient,
and Amoral Behavior In Corporate Litigation, 67 FORDHAM L. REV. 773 (1998); Jean
M. Cary, Rambo Depositions: Controlling an Ethical Cancer in Civil Litigation, 25

                                            3

    Case 3:14-cv-03041-MWB-CJW Document 136 Filed 03/13/17 Page 3 of 45
after a hearing on March 7, 2017, pursuant to my January 27, 2017, Order To Show
Cause Why Counsel For Both Parties Should Not Be Sanctioned For Discovery Abuses
And Directions For Further Briefing,
      Rule 1 of the Federal Rules of Civil Procedure states that the Rules “should be
construed, administered, and employed by the court and the parties to secure the just,
speedy, and inexpensive determination of every action and proceeding.” Nevertheless,
modern “litigation” practice all too often disregards that admonition and seems to favor
wars of discovery attrition. “[A]lthough the rule is ‘more aspirational than descriptive,’”
it can, nevertheless, inform the courts’ authority to sanction discovery misconduct.3
Furthermore, the specific Rules devoted to discovery attempt to facilitate the disclosure
of relevant information and to avoid conflicts by setting out the when, what, and how of
discovery, as well as how to raise objections, in ways that should lead to the narrowing
of issues and the resolution of disputes without the involvement of the court. Even so,
discovery all too often becomes a needlessly time-consuming, and often needlessly
expensive, game of obstruction and non-disclosure. Indeed, obstructionist discovery
practice is a firmly entrenched “culture” in some parts of the country, notwithstanding


HOFSTRA L. REV. 561 (1996).
        For example, I note that, in 1986—a full three decades ago—the A.B.A.
Commission on Professionalism “encouraged judges to impose sanctions for abuse of the
litigation process, noting that the Federal Rules permit the imposition of sanctions for
such abuse.” See Cary, Rambo Depositions, 25 HOFSTRA L. REV. at 594 (emphasis
added) (citing A.B.A. Comm’n on Professionalism, “. . . In the Spirit of Public Service:”
A Blueprint for the Rekindling of Lawyer Professionalism, 112 F.R.D. 243, 265, 291-92
(1986)). Thus, calls for judges to be more willing to punish discovery abuses came from
the bar, as well as from commentators and the bench.
      3
        London, Resolving the Civil Litigant’s Discovery Dilemma, 26 GEO. J. LEGAL
ETHICS at 851 (footnotes omitted) (quoting Lee v. Max Int’l, L.L.C., 638f3 1318, 1321
(10th Cir. 2011)).


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    Case 3:14-cv-03041-MWB-CJW Document 136 Filed 03/13/17 Page 4 of 45
that it involves practices that are contrary to the rulings of every federal and state court
to address them. As I remarked at an earlier hearing in this matter, “So what is it going
to take to get . . . law firms to change and practice according to the rules and the cases
interpreting the rules? What’s it going to take?”4 While one of the attorneys gave the
hopeful answer that admonitions from the courts had made clear what practices are
unacceptable, it is clear to me that admonitions from the courts have not been enough to
prevent such conduct and that, perhaps, only sanctions will stop this nonsense.
       I know that I am not alone in my goal of eliminating “boilerplate” responses and
other discovery abuses, because the goal is a worthy one.5           As one commentator
observed:
               Though boilerplate objections are relatively common in
               modern civil litigation, the legal community can take steps to
               curb their use. Attorneys and judges alike must recognize the

       4
           01/23/17 Hrg. Tr. 12:15-17.
       5
         Although I have made no secret of my unhappiness with obstructionist practices
in discovery and, on one occasion, I fashioned a sanction for such conduct that the
appellate court found too unusual to affirm without more notice to the sanctioned party,
I have still rarely imposed sanctions for obstructionist practices in my twenty-two years
as a federal district judge and my three years prior to that as a federal magistrate judge.
See Security Nat’l Bank of Sioux City v. Abbott Labs., 299 F.R.D. 595 (N.D. Iowa 2014)
(requiring an attorney to write and produce a training video that addressed the impropriety
of her obstructionist deposition conduct as a sanction for such conduct), rev’d, 800 F.3d
936 (8th Cir. 2015) (vacating the sanction for failure to give adequate advance notice of
the unusual nature of the sanction being considered); St. Paul Reins. Co., Ltd., v.
Commercial Fin. Corp., 197 F.R.D. 620 (N.D. Iowa 2000) (a party’s continued assertion
of privileges, after once being warned of the impropriety of its assertions, was “without
substantial justification,” and warranted the payment of the opposing party’s attorney’s
fees and expenses in bringing a motion to compel as a sanction); St. Paul Reins. Co.,
Ltd., v. Commercial Fin. Corp., 198 F.R.D. 508 (N.D. Iowa 2000) (requiring an
attorney to write an article regarding why his objections to discovery requests were
improper and submit such article to bar journals).


                                             5

    Case 3:14-cv-03041-MWB-CJW Document 136 Filed 03/13/17 Page 5 of 45
               costs these objections impose on the efficient administration
               of justice and on the legal profession. Only with such an
               understanding, and an attendant willingness to effectively
               penalize those who issue boilerplate objections, can their use
               be reduced. Hopefully, with an increased focus on preventing
               abusive discovery practices, including boilerplate objections,
               the legal profession can move toward fairer, more effective
               discovery practices.6
Thus, while I find the task distasteful, I embark on my consideration of whether the
conduct of the parties in this case warrants sanctions for discovery abuses.


                                 I.    INTRODUCTION
                               A.     Factual Background
      1.       The nature of the litigation
      Plaintiff Liguria Foods, Inc., (Liguria) is a pepperoni and dried sausage
manufacturer with its principal place of business in Humboldt, Iowa. Liguria’s most
popular product is a finished pepperoni product called “Liguria Pepperoni,” although
Liguria makes other kinds of pepperoni, as well. Defendant Griffith Laboratories, Inc.,
(Griffith) is a manufacturer of food seasonings and spice blends with its principal place
of business in Alsip, Illinois. Beginning in approximately 1994, Griffith sold mixes of
custom spices to Liguria or its predecessor company, Humboldt Sausage. In late 2012
and early 2013, Liguria received complaints from customers that the Liguria Pepperoni,
which contains Griffith’s Optimized Pepperoni Seasoning, was prematurely turning green
and grey, within 140 to 160 days after production, even though Liguria Pepperoni was
supposed to have a shelf life of 270 days from slicing. After this problem arose, Liguria
lost several of its longstanding customers.



      6
          Jarvey, Boilerplate Discovery Objections, 61 DRAKE L. REV. at 936.

                                              6

    Case 3:14-cv-03041-MWB-CJW Document 136 Filed 03/13/17 Page 6 of 45
       Eventually, Liguria concluded that Griffith’s Optimized Pepperoni Seasoning
contributed to the premature spoliation of its Liguria Pepperoni. On July 3, 2014, Liguria
filed a Complaint asserting claims for breach of implied warranty of fitness for a purpose
and breach of implied warranty of merchantability. Griffith filed an Answer denying the
substance of Liguria’s claims. Throughout this litigation, Griffith has contended, inter
alia, that either underlying problems in Liguria’s raw meat supply or Liguria’s “rework”7
policies were far more likely to be responsible for Liguria’s rancidity problems than
Griffith’s spices.
       2.     Potentially obstructionist discovery responses
       In my review of another discovery dispute between the parties, raised in Griffith’s
January 12, 2017, Emergency Motion To Address Possible Discovery Abuses, the issue
now before me, which involves potentially obstructionist discovery responses by both
parties, came to my attention. In preparing for a hearing on January 23, 2017, on
Griffith’s Motion, I reviewed some of Liguria’s written responses to Griffith’s discovery
requests attached to the Motion. I noted discovery responses that I suspected or believed
were abusive and/or not in compliance with the applicable rules, but mere “boilerplate”
objections. At the hearing on January 23, 2017, after questioning Griffith’s lead counsel
and hearing his candid responses, I indicated my belief that it was likely that Griffith’s
written responses to Liguria’s discovery requests were also abusive “boilerplate”
responses. Consequently, I directed the parties to file, under seal, all their written
responses to each other’s discovery requests by the following day. I also notified counsel
of my intention to impose sanctions on every attorney who signed the discovery




       7
        “Rework” is ends or parts of a product that are cut off and not used in the finished
product, but are, instead, mixed back into a later batch of the product.

                                             7

    Case 3:14-cv-03041-MWB-CJW Document 136 Filed 03/13/17 Page 7 of 45
responses, if I determined that the responses were, indeed, improper or abusive. The
parties filed their written responses to discovery requests, as directed, the following day.
       After reviewing those discovery responses, I entered an order advising the parties
that I suspected that the discovery responses listed in the following table were improper:


                      Suspect Objections To Discovery Requests
                                                                     Rule(s)
                 Objection                          Response        Possibly
                                                                    Violated
 PL: “to the extent they seek to impose Pl’s Ans. To Df’s 1st Set Rules
 obligations on it beyond those imposed by (#116), Gen. Obj. 1     33(b)(4),
 the Federal Rules of Civil Procedure ** Pl’s Ans. To Df’s 2nd Set 34(b)(2)(B)
 or any other applicable rules or laws”    (#117), Gen. Obj. 1

 DF: “to the extent that it purports to
 impose obligations . . . beyond those Df’s Ans. To Pl’s 1st Set
 required by the Federal Rules of Civil (#118, Tab A), Gen. Obj. 3
 Procedure”                             Df’s Ans. To Pl’s 2nd Set
                                        (#118, Tab B), Gen. Obj. 3
                                        Df’s Ans. To Pl’s 4th Set
                                        (#118, Tab F), Gen. Obj. 3
                                        Df’s Ans. To Pl’s 5th Set
                                        (#118, Tab G), Gen. Obj. 3
                                        Df’s Ans. To Pl’s 3rd Set
                                        (#118, Tab H), Gen. Obj. 3




                                             8

    Case 3:14-cv-03041-MWB-CJW Document 136 Filed 03/13/17 Page 8 of 45
                     Suspect Objections To Discovery Requests
                                                                        Rule(s)
                 Objection                           Response          Possibly
                                                                       Violated
PL: “to the extent they call for Pl’s Ans. To Df’s 1st Set Rule
documents protected by the attorney- (#116), Gen. Obj. 4              26(b)(5)
client privilege, the work product rule, or Pl’s Ans. To Df’s 2nd Set
any other applicable privilege”             (#117), Gen. Obj. 4

DF: “to the extent they seek information     Df’s Ans. To Pl’s 1st Set
that is protected from discovery under the   (#118, Tab A), Gen. Obj. 1
attorney-client privilege, the attorney      Df’s Ans. To Pl’s 2nd Set
work-product doctrine or is otherwise        (#118, Tab B), Gen. Obj. 1
privileged or protected from disclosure”     Df’s Ans. To Pl’s 4th Set
                                             (#118, Tab F), Gen. Obj. 1
                                             Df’s Ans. To Pl’s 5th Set
                                             (#118, Tab G), Gen. Obj. 1
                                             Df’s Ans. To Pl’s 3rd Set
                                             (#118, Tab H), Gen. Obj. 1
PL: “to the extent they request the          Pl’s Ans. To Df’s 1st Set Rules
production of documents that are not         (#116), Gen. Obj. 5        33(b)(4),
relevant, are not reasonably calculated to   Pl’s Ans. To Df’s 2nd Set 34(b)(2)(B)
lead to the discovery of admissible          (#117), Gen. Obj. 5
evidence or are not within their
possession, custody and control”




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   Case 3:14-cv-03041-MWB-CJW Document 136 Filed 03/13/17 Page 9 of 45
                    Suspect Objections To Discovery Requests
                                                                  Rule(s)
                Objection                      Response          Possibly
                                                                 Violated
PL: “insofar as they seek information Pl’s Ans. To Df’s 1st Set Rule
that is confidential or proprietary”  (#116), Gen. Obj. 6       26(b)(5)
                                      Pl’s Ans. To Df’s 2nd Set
                                      (#117), Gen. Obj. 6

DF: “to the extent they seek the            Df’s Ans. To Pl’s 1st Set
disclosure of trade secrets, or             (#118, Tab A), Gen. Obj. 6
confidential or proprietary information     Df’s Ans. To Pl’s 2nd Set
without the entry of an appropriate         (#118, Tab B), Gen. Obj. 6
protective order”                           Df’s Ans. To Pl’s 4th Set
                                            (#118, Tab F), Gen. Obj. 7
                                            Df’s Ans. To Pl’s 5th Set
                                            (#118, Tab G), Gen. Obj. 6
                                            Df’s Ans. To Pl’s 3rd Set
                                            (#118, Tab H), Gen. Obj. 6
PL: “to the time period defined in the      Pl’s Ans. To Df’s 1st Set Rules
Document Requests and Interrogatories       (#116), Gen. Obj. 7        33(b)(4),
as overbroad and not reasonably             Pl’s Ans. To Df’s 2nd Set 34(b)(2)(B)
calculated to lead to the discovery of      (#117), Gen. Obj. 7
admissible evidence”

DF: Similar     objection     concerning    Df’s Ans. To Pl’s 1st Set
“burdensomeness,”      adding,    “[The     (#118, Tab A), Gen. Obj. 5
request] is not limited to a reasonable     Df’s Ans. To Pl’s 2nd Set
time frame [and so is] overly broad and     (#118, Tab B), Gen. Obj. 5
unduly burdensome. Plaintiff purports to    Df’s Ans. To Pl’s 4th Set
seek information for all periods from       (#118, Tab F), Gen. Obj. 5
January 1, 2009 to the present.”            Df’s Ans. To Pl’s 5th Set
                                            (#118, Tab G), Gen. Obj. 5
                                            Df’s Ans. To Pl’s 3rd Set
                                            (#118, Tab H), Gen. Obj. 5




                                           10

  Case 3:14-cv-03041-MWB-CJW Document 136 Filed 03/13/17 Page 10 of 45
                  Suspect Objections To Discovery Requests
                                                                   Rule(s)
               Objection                       Response           Possibly
                                                                  Violated
DF: “the defined term ‘Liguria Related Df’s Ans. To Pl’s 2nd Set Rules
Documents’ as overly broad, unduly (#118, Tab B), Gen. Obj. 7 33(b)(4),
burdensome      and    not    reasonably                         34(b)(2)(B)
calculated to lead to the discovery of
admissible evidence” and “to the extent it
seeks to impose an obligation to retain
every document related in any way to
Liguria”




                                    11

  Case 3:14-cv-03041-MWB-CJW Document 136 Filed 03/13/17 Page 11 of 45
                   Suspect Objections To Discovery Requests
                                                                         Rule(s)
                Objection                           Response            Possibly
                                                                        Violated
PL: “subject to [and without waiving] its Pl’s Ans. To Df’s 1st Set Rules
[general] objections”                     (#116), Interrogs. 1, 5-7, 33(b)(4),
                                          10(1), 11, 12, 14, 15, 18-20 34(b)(2)(B)
                                          Pl’s Ans. To Df’s 1st Set
                                          (#116), Doc. Reqs. 1-7, 12-
                                          15, 19, 21-26
                                          Pl’s Ans. To Df’s 2nd Set
                                          (#117), Interrogs. 21, 22, 25
                                          Pl’s Ans. To Df’s 2nd Set
                                          (#117), Doc. Reqs. 27-29,
                                          31-33

DF: “Subject to and without waiving its Df’s Ans. To Pl’s 1st Set
general and specific objections”        (#118, Tab A), Doc. Reqs.
                                        1-20, 22, 26
                                        Df’s Ans. To Pl’s 1st Set
                                        (#118, Tab A), Interrogs.
                                        1-6
                                        Df’s Ans. To Pl’s 2nd Set
                                        (#118, Tab B), Doc. Reqs.
                                        1-8
                                        Df’s Ans. To Pl’s 2nd Set
                                        (#118, Tab B), Interrogs. 1-
                                        4
                                        Df’s Ans. To Pl’s 4th Set
                                        (#118, Tab F), Interrogs. 1,
                                        2
                                        Df’s Ans. To Pl’s 5th Set
                                        (#118, Tab G), Gen. Obj. 1,
                                        2, 4-9
                                        Df’s Ans. To Pl’s 3rd Set
                                        (#118, Tab H), Doc. Reqs. 1




                                       12

  Case 3:14-cv-03041-MWB-CJW Document 136 Filed 03/13/17 Page 12 of 45
                    Suspect Objections To Discovery Requests
                                                                          Rule(s)
               Objection                            Response             Possibly
                                                                         Violated
 PL: “overbroad, unduly burdensome”       Pl’s Ans. To Df’s 1st Set Rules
                                          (#116), Interrogs. 2, 5-7, 33(b)(4),
                                          10(2), 12, 18-20              34(b)(2)(B)
                                          Pl’s Ans. To Df’s 1st Set
                                          (#116), Doc. Reqs. 1, 7,8 12,
                                          14, 16, 18, 20
                                          Pl’s Ans. To Df’s 2nd Set
                                          (#117), Interrogs. 21-23, 25
                                          Pl’s Ans. To Df’s 2nd Set
                                          (#117), Doc. Reqs. 27-33

 DF: frequently stated, “and depending    Df’s Ans. To Pl’s 1st Set
 on the meaning [of an allegedly vague    (#118, Tab A), Doc. Reqs.
 term] may also be overly broad, [and]    4, 6-22
 unduly burdensome,” but sometimes        Df’s Ans. To Pl’s 1st Set
 without any limitation                   (#118, Tab A), Interrogs.
                                          1, 2, 4-6
                                          Df’s Ans. To Pl’s 2nd Set
                                          (#118, Tab B), Doc. Reqs.
                                          1-8
                                          Df’s Ans. To Pl’s 2nd Set
                                          (#118, Tab B), Interrogs. 5,
                                          6
                                          Df’s Ans. To Pl’s 3rd Set
                                          (#118, Tab H), Doc. Reqs. 1




      8
        Liguria’s Ans. To Df’s 1st Set (#116), Doc. Req. 7 does add, presumably as an
explanation of overbreadth, “Request No. 7 seeks all communications between Liguria
representatives and any distributor of [Griffith’s Optimized Pepperoni Seasoning],
without regard to the subject matter of the requested communication.”

                                         13

   Case 3:14-cv-03041-MWB-CJW Document 136 Filed 03/13/17 Page 13 of 45
                      Suspect Objections To Discovery Requests
                                                                           Rule(s)
                Objection                            Response             Possibly
                                                                          Violated
 PL: “not reasonably calculated to lead to Pl’s Ans. To Df’s 1st Set Rules
 the discovery of admissible evidence”     (#116), Interrogs. 2, 12, 19, 33(b)(4),
                                           20                            34(b)(2)(B)
                                           Pl’s Ans. To Df’s 1st Set
                                           (#116), Doc. Reqs. 1, 7, 14,
                                           16, 18, 20
                                           Pl’s Ans. To Df’s 2nd Set
                                           (#117), Interrogs. 21-23,9 25
                                           Pl’s Ans. To Df’s 2nd Set
                                           (#117), Doc. Reqs. 27-33

 DF: frequently stated, “and depending       Df’s Ans. To Pl’s 1st Set
 on the meaning [of an allegedly vague       (#118, Tab A), Doc. Reqs.
 term] may also be . . . not reasonably      4, 6-22
 calculated to lead to the discovery of      Df’s Ans. To Pl’s 1st Set
 admissible evidence,” but sometimes         (#118, Tab A), Interrogs.
 without any limitation                      1, 2, 4-6
                                             Df’s Ans. To Pl’s 2nd Set
                                             (#118, Tab B), Doc. Reqs.
                                             1-8
                                             Df’s Ans. To Pl’s 2nd Set
                                             (#118, Tab B), Interrogs. 5,
                                             6
                                             Df’s Ans. To Pl’s 3rd Set
                                             (#118, Tab H), Doc. Reqs. 1




      9
         Liguria’s Ans. To Df’s 2nd Set (#118) Interrog. 23 does add, presumably as an
explanation of overbreadth, “to the extent it purports to seek studies which ‘evaluate the
effectiveness’ of mixers used by Liguria.”

                                           14

   Case 3:14-cv-03041-MWB-CJW Document 136 Filed 03/13/17 Page 14 of 45
                      Suspect Objections To Discovery Requests
                                                                    Rule(s)
                  Objection                         Response       Possibly
                                                                   Violated
 PL: “as the term(s) [X and Y] are not Pl’s Ans. To Df’s 1st Set Rules
 defined”                                 (#116), Interrogs. 2    33(b)(4),
 PL: (Similar) “[to a term or terms] as Pl’s Ans. To Df’s 1st Set 34(b)(2)(B)
 vague and ambiguous, insofar as it (#116), Interrogs. 11
 presupposes that Griffith provided
 [information about its own procedures to
 Liguria for its review]



 DF: “to the [undefined] term [Z] as   Df’s Ans. To Pl’s 1st Set
 vague and ambiguous [or confusing]”10 (#118, Tab A), Doc. Reqs.
 (sometimes adding that the term in    3, 5, 9-13, 15-17, 19, 20, 25
 question “is not a term used by or known
                                       Df’s Ans. To Pl’s 1st Set
 to Griffith”)                         (#118, Tab A), Interrogs. 4
                                       Df’s Ans. To Pl’s 4th Set
                                       (#118, Tab F), Interrogs. 1,
                                       2
                                       Df’s Ans. To Pl’s 5th Set
                                       (#118, Tab G), Interrogs. 2,
                                       4-9
 PL: “as discovery remains ongoing and Pl’s Ans. To Df’s 1st Set Rule 26(d)
 Griffith [has failed to respond to (#116), Interrogs. 3, 4
 Liguria’s discovery requests]”




       10
          Interestingly, in Df’s Ans. To Pl’s First Set (#118, Tab A), Doc. Req. 3, Griffith
identifies “communications” as “vague and ambiguous,” but Griffith used that term in
its own 1st Request For Documents, for example, in Request No. 9, and other discovery
requests.

                                            15

   Case 3:14-cv-03041-MWB-CJW Document 136 Filed 03/13/17 Page 15 of 45
                     Suspect Objections To Discovery Requests
                                                                   Rule(s)
               Objection                         Response          Possibly
                                                                   Violated
 PL: “as discovery remains ongoing and Pl’s Ans. To Df’s 1st Set Rule 26(d)
 Liguria   reserves   the    right  to (#116), Interrogs. 9, 10(1)
 [supplement]”


 DF: “as premature. Discovery in this Df’s Ans. To Pl’s 1st Set
 matter has only recently commenced and (#118, Tab A), Doc. Reqs.
 Griffith’s investigation is continuing.”   22-24
                                            Df’s Ans. To Pl’s 1st Set
                                            (#118, Tab A), Interrogs.
                                            1, 2, 4, 6
 PL: “as calling for the disclosure of Pl’s Ans. To Df’s 1st Set Rule
 information subject to the attorney-client (#116), Interrogs. 14, 15   26(b)(5)
 privilege and/or work product immunity Pl’s Ans. To Df’s 1st Set
 doctrine”                                  (#116), Doc. Reqs. 5, 6, 17



 DF: “seeks documents protected by the Df’s Ans. To Pl’s 1st Set
 attorney-client privilege and/or the (#118, Tab A), Doc. Reqs.
 attorney work product doctrine”          3-5, 10-12
                                          Df’s Ans. To Pl’s 1st Set
                                          (#118, Tab A), Interrogs. 3
                                          Df’s Ans. To Pl’s 2nd Set
                                          (#118, Tab B), Interrogs. 1-
                                          4
                                          Df’s Ans. To Pl’s 5th Set
                                          (#118, Tab G), Interrogs. 1
 PL: “requests the production of Pl’s Ans. To Df’s 2nd Set Rule
 confidential and proprietary information (#117), Interrogs. 21        26(b)(5)
 of non-parties”

      Liguria’s responses to Griffith’s interrogatories and requests for production of
documents were signed by local counsel on behalf of Liguria’s lead attorneys, who have
                                         16

   Case 3:14-cv-03041-MWB-CJW Document 136 Filed 03/13/17 Page 16 of 45
their offices in Chicago, Illinois. Griffith’s pertinent discovery responses were signed
by its lead attorney, who also has offices in Chicago, Illinois. At the January 23, 2017,
hearing, I ascertained that local counsel for both parties had acted essentially as “drop
boxes” for filings, but did not have any active role in formulating the discovery responses
in question.


                              B.    Procedural Background
       1.      Pretrial matters
       The relevant pretrial matters can be summarized quite briefly. On July 3, 2014,
Liguria filed a Complaint asserting claims for breach of implied warranty of fitness for a
purpose and breach of implied warranty of merchantability, and, on August 29, 2014,
Griffith filed an Answer denying the substance of Liguria’s claims. The trial has been
reset to begin on May 1, 2017.
       2.      The Show Cause Order
       On January 27, 2017, I entered an Order To Show Cause Why Counsel For Both
Parties Should Not Be Sanctioned For Discovery Abuses And Directions For Further
Briefing. In the Order To Show Cause, I directed that every attorney for the parties who
signed a response to interrogatories or a response to a request for documents in this case,
with the exception of local counsel, appear and show cause, at a hearing previously
scheduled for March 7, 2017, why he should not be sanctioned for discovery abuses.11 I
also provided the table of the discovery responses, included above, showing the responses
that I suspected were improper. In Section II of that order, I then directed the parties to




       11
        The Order To Show Cause also specified that any attorney not arguing Griffith’s
Motion was allowed to appear by telephone for the “show cause” portion of the hearing.
See Order To Show Cause at 1.

                                            17

   Case 3:14-cv-03041-MWB-CJW Document 136 Filed 03/13/17 Page 17 of 45
submit, not later than February 28, 2017, briefs in response to the Show Cause part of
the Order addressing the following matters:
                       1.     Whether each of the discovery responses by that
               party identified in the table . . . is or is not a violation of the
               rule cited or otherwise an abuse of discovery, and
                      2.     If any responses identified in the table . . . are
               discovery abuses, the appropriate sanction or combination of
               sanctions that is appropriate for an offending attorney.
         On February 28, 2017, the parties filed those briefs, as directed. Those briefs
were Liguria’s Brief In Response To Section II Of The Order To Show Cause Of January
27, 2017, and Griffith’s Response To Order To Show Cause.


                          C.     Responses Of The Parties To The
                                      Order To Show Cause
         1.    Responses in briefs
         In its brief in response to the Order To Show Cause, Liguria states that, based
upon its review of my Order To Show Cause, the applicable Federal Rules of Civil
Procedure, and its discovery responses, it recognizes that many of its objections are not
stated with specificity. Liguria asserts, nevertheless, that it has not interposed any
objection “for any improper purpose, such as to harass, cause unnecessary delay, or
needlessly increase the cost of litigation,” pursuant to Rule 26(g)(1)(B)(ii). Liguria also
points out that some of its objections did interpose explanations to justify their basis, such
as the ones that I identified, supra, in notes 8 and 9. In addition, Liguria argues that it
did so in its responses to Interrogatories Nos. 2 and 18 and Request For Production
No. 1.
         In its brief in response to the Order To Show Cause, Griffith, like Liguria, states
that its written responses to Liguria’s discovery requests were not intended for any
improper purposes and that the parties have, in fact, conducted this litigation in a
                                               18

   Case 3:14-cv-03041-MWB-CJW Document 136 Filed 03/13/17 Page 18 of 45
cooperative and professional manner. Griffith also contends that a magistrate judge has
already reviewed various of Griffith’s responses and found no fault with them. Griffith
contends that both parties relied on standard “boilerplate” language to assure that they
were not waiving their rights while they met and conferred about the scope of privileges,
pertinent time periods, and myriad other issues in this complex case. Indeed, Griffith
contends that the eleven statements in its discovery responses that I identified in my Order
To Show Cause do not constitute discovery abuses. This is so, Griffith argues, because
the responses were intended to preserve any objection, but not for harassment or delay,
and they did not require any additional work or expense by Liguria. Griffith contends
that certain of its responses were intended to narrow the privilege issues or protect
information until an appropriate protective order was entered, or were intended to narrow
the relevant time frame, where the parties have had a relationship since at least 1995, but
the problems at the center of the litigation arose only in late 2012. Counsel for Griffith
does acknowledge that, in light of my concerns expressed at the January 23, 2017, hearing
and in the Order To Show Cause, four of its responses were not helpful nor well-
constructed, but nevertheless were not in bad faith or for any improper purpose, and
another response could have been “more artful” to indicate an intent to supplement that
response later.
       2.     Responses at the evidentiary hearing
       The first part of the hearing on March 7, 2017, was devoted to the issues raised
in my Show Cause Order. Counsel for both parties candidly admitted that there were no
published decisions that allowed or condoned the sort of “boilerplate” objections that I
had pointed out in the Show Cause Order. Counsel for both parties also represented that,
notwithstanding the “boilerplate” objections, they had conferred professionally and
cordially and had been able to resolve most discovery issues by consultation, with what



                                            19

   Case 3:14-cv-03041-MWB-CJW Document 136 Filed 03/13/17 Page 19 of 45
I agree was surprisingly little need for intervention by the court in such a complicated
case involving such voluminous discovery.
       As to the question of why counsel for both sides had resorted to “boilerplate”
objections, counsel admitted that it had a lot to do with the way they were trained, the
kinds of responses that they had received from opposing parties, and the “culture” that
routinely involved the use of such “standardized” responses. Indeed, one of the attorneys
indicated that some clients—although not the clients in this case—expect such responses
to be made on their behalf. I believe that one of the attorneys hit the nail squarely on the
head when he asserted that such responses arise, at least in part, out of “lawyer paranoia”
not to waive inadvertently any objections that might protect the parties they represent.
Even so, counsel for both parties admitted that they now understood that such
“boilerplate” objections do not, in fact, preserve any objections. Counsel also agreed
that part of the problem was a fear of “unilateral disarmament.” This is where neither
party’s attorneys wanted to eschew the standard, but impermissible, “boilerplate”
practices that they had all come to use because they knew that the other side would engage
in “boilerplate” objections. Thus, many lawyers have become fearful to comply with
federal discovery rules because their experience teaches them that the other side would
abuse the rules. Complying with the discovery rules might place them at a competitive
disadvantage.
       Returning to the matter of the conduct of counsel in this case, counsel for both
parties reiterated that their relationship has been professional and effective in narrowing
the scope of discovery requests. They represented that the responses with which I had
taken issue, and which they admitted were improper under the Federal Rules of Civil
Procedure, were taken by counsel in this case as signals of a need or desire to narrow
discovery requests, and a desire for discussion, rather than as refusals to provide
responses or indications of any intent to impede or improperly delay discovery. Thus,

                                            20

   Case 3:14-cv-03041-MWB-CJW Document 136 Filed 03/13/17 Page 20 of 45
while they admitted that both sides had made improper discovery responses, they
suggested that this was a poor case in which to impose sanctions, because there had been
no bad faith and no real detriment or impediment to discovery.
       Furthermore, counsel for both parties sincerely pledged not to engage in such
improper discovery practices in the future and to work within their firms to change the
way their firms do things. They also both suggested that they would be willing to put
together courses or continuing legal education programs for lawyers or law students about
the applicable discovery rules and proper and improper discovery objections. They also
raised legitimate concerns that sanctions could impede their ability to obtain pro hac vice
admission in other jurisdictions, which they suggested was a negative consequence out of
proportion to their conduct in this case, which had involved an effective working
relationship between opposing counsel despite whopping defiance of discovery rules and
court decisions.


              Formal discovery under the Federal Rules of Civil Procedure
              is one of the most abused and obfuscated aspects of our
              litigation practice.12


                                II.    LEGAL ANALYSIS
       Although it was the second issue to arise, I find it appropriate to rule, first, on the
Order To Show Cause, relating to what I believed were obstructionist discovery responses
by both parties. Having considered the parties’ arguments, I now confirm that belief as
to all or nearly all the responses that I identified. The question of whether or not to
impose sanctions, in light of such improper responses, is a much more difficult issue,


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  Francis E. McGovern & E. Allan Lind, The Discovery Survey, 51 LAW & CONTEMP.
PROBS. 41, 41 (1988)

                                             21

     Case 3:14-cv-03041-MWB-CJW Document 136 Filed 03/13/17 Page 21 of 45
however, because I find that this case involved courteous and professional attorneys who
worked together in good faith to resolve discovery disputes without the need for
intervention by the court.


                             A.     Proper Discovery Responses
       Unfortunately, experience has taught me that attorneys do not know or pay little
attention to the discovery rules in the Federal Rules of Civil Procedure. I preface this
discussion with an observation by United States District Judge Paul W. Grimm, of the
District of Maryland, who was, at the time, a member of the Advisory Committee on
Civil Rules, and the Chair of the Discovery Subcommittee, and David S. Yellin, a
litigation associate with a New York law firm:
                       [Surveys have] found that, “[a]lthough the civil justice
                system is not broken, it is in serious need of repair. In many
                jurisdictions, today’s system takes too long and costs too
                much.” Few practicing attorneys would be surprised that
                discovery was singled out as “the primary cause for cost and
                delay,” and often “can become an end in itself.”
Hon. Paul W. Grimm and David S. Yellin, A Pragmatic Approach to Discovery Reform:
How Small Changes Can Make a Big Difference in Civil Discovery, 64 S.C. L. REV. 495,
495-96 (2013) (citations omitted). Furthermore, “[b]y some estimates, discovery costs
now comprise between 50 and 90 percent of the total litigation costs in a case” and
“[d]iscovery abuse also represents one of the principal causes of delay and congestion in
the judicial system.” Beisner, Discovering A Better Way, 60 DUKE L.J. at 549. It is
ignoring the applicable Federal Rules of Civil Procedure that I find is at least partially
responsible for the increase in the costs and delays of discovery.13


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            Judges and lawyers must not downplay the costs imposed by discovery:


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   Case 3:14-cv-03041-MWB-CJW Document 136 Filed 03/13/17 Page 22 of 45
      Thus, I will begin my analysis with the rules that are pertinent, here. In this case,
I am concerned with responses to interrogatories and document requests, which are
specifically governed by Rules 33 and 34 of the Federal Rules of Civil Procedure,
respectively.    Nevertheless, Rule 26 also establishes important requirements for all
discovery.
      The first part of Rule 26 that is significant, here, is Rule 26(b), which defines the
scope of permissible discovery, generally, as follows:
                (b)    Discovery Scope and Limits.
                       (1)    Scope in General. Unless otherwise limited by
                              court order, the scope of discovery is as
                              follows: Parties may obtain discovery regarding
                              any nonprivileged matter that is relevant to any
                              party’s claim or defense and proportional to the
                              needs of the case, considering the importance of
                              the issues at stake in the action, the amount in
                              controversy, the parties’ relative access to
                              relevant information, the parties’ resources, the
                              importance of the discovery in resolving the


                The unchecked rise in discovery costs has attracted the
                attention of corporations, which now list discovery as one of
                their most pressing concerns when litigation is imminent. This
                concern is well founded. Discovery costs in U.S. commercial
                litigation are growing at an explosive rate; estimates indicate
                they reached $700 million in 2004, $1.8 billion in 2006, and
                $2.9 billion in 2007. And these figures do not even account
                for the billions of dollars that corporations pay each year to
                settle frivolous lawsuits because the burdens of litigating until
                summary judgment or a favorable verdict are too onerous.
Beisner, Discovering a Better Way, 60 DUKE L.J. at 574 (also discussing economic
consequences of the “litigation tax”).


                                               23

   Case 3:14-cv-03041-MWB-CJW Document 136 Filed 03/13/17 Page 23 of 45
                            issues, and whether the burden or expense of the
                            proposed discovery outweighs its likely benefit.
                            Information within this scope of discovery need
                            not be admissible in evidence to be
                            discoverable.
FED. R. CIV. P. 26(b)(1) (emphasis added).
       The Eighth Circuit Court of Appeals has explained that Rule 26(b)(1) does not
give any party “the unilateral ability to dictate the scope of discovery based on their own
view of the parties’ respective theories of the case,” because “[l]itgation in general and
discovery in particular . . . are not one sided.” Sentis Grp., Inc. v. Shell Oil Co., 763
F.3d 919, 925 (8th Cir. 2014). Nor is discovery “limited to material that might be
deemed relevant and admissible at trial,” because it “is a[n] investigatory tool intended
to help litigants gain an understanding of the key persons, relationships, and evidence in
a case and, as this case well illustrates, the veracity of those persons and purported
evidence, even if the evidence discovered is later deemed not admissible.” Id. at 926.
Furthermore, a party is wrong to suppose “that the concepts of materiality, relevancy,
and discoverability are fixed rather than fluid such that parties cannot change their views
of the necessity of certain information or their theories of the case during the course of
discovery as new facts and relationships are revealed or explained.” Id.
       As a counterbalance to the breadth of permissible discovery set out in Rule 26(b),
Rule 26(c) provides, “The court may, for good cause, issue an order to protect a party
or person from annoyance, embarrassment, oppression, or undue burden or expense,
including one or more [listed limitations].” FED. R. CIV. P. 26(c)(1). In short, as I
explained more than a decade-and-a-half ago, “as long as the parties request information
or documents relevant to the claims at issue in the case, and such requests are tendered
in good faith and are not unduly burdensome, discovery shall proceed.” St. Paul Reins.
Co., Ltd. v. Commercial Fin. Corp., 198 F.R.D. 508, 511 (N.D. Iowa 2000). “The

                                            24

   Case 3:14-cv-03041-MWB-CJW Document 136 Filed 03/13/17 Page 24 of 45
party resisting production bears the burden of establishing lack of relevancy or undue
burden.” Id. at 512. I have found nothing to suggest that a more restrictive view of the
scope of discovery is now the norm.
       Rule 26(d) sets out requirements for the timing of discovery that are pertinent,
here. Specifically, Rule 26(d)(1) provides that, generally, a party may not seek discovery
before the parties’ discovery conference, but Rule 26(d)(2) provides that document
requests pursuant to Rule 34 may be delivered ‘[m]ore than 21 days after the summons
and complaint are served on a party.” Rule 26(d)(3) sets out the rule for the “sequence”
of discovery, as follows:
              (3)    Sequence. Unless the parties stipulate or the court
                     orders otherwise for the parties’ and witnesses’
                     convenience and in the interests of justice:
                     (A)    methods of discovery may be used in any
                            sequence; and
                     (B)    discovery by one party does not require any
                            other party to delay its discovery.
FED. R. CIV. P. 26(d)(3) (emphasis added). Indeed, the Advisory Committee Notes,
1970 Amendments explain, “[One] principal effect[] of the new provision [is] . . . to
eliminate any fixed priority in the sequence of discovery. . . . In principle, one party’s
initiation of discovery should not wait upon the other’s completion, unless the delay is
dictated by special considerations.” Thus, Rule 26(d)(3) makes clear that there is no
limitation on the sequence of discovery and that a party cannot delay responding to
discovery simply because the other party has not yet responded to its discovery.
       Rule 26(b)(5) is also relevant, here, because it recognizes the propriety of asserting
privileges in response to interrogatories or document requests, but it also requires more
than bald assertions of privilege, as follows:



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   Case 3:14-cv-03041-MWB-CJW Document 136 Filed 03/13/17 Page 25 of 45
             (5)    Claiming Privilege or Protecting Trial-Preparation
                    Materials.
                    (A)    Information Withheld. When a party withholds
                           information otherwise discoverable by claiming
                           that the information is privileged or subject to
                           protection as trial-preparation material, the
                           party must:
                           (i)    expressly make the claim; and
                           (ii)   describe the nature of the documents,
                                  communications, or tangible things not
                                  produced or disclosed—and do so in a
                                  manner     that,      without     revealing
                                  information itself privileged or protected,
                                  will enable other parties to assess the
                                  claim.
FED. R. CIV. P. 26(b)(5)(A) (emphasis added). The Eighth Circuit Court of Appeals
recognized, some time ago, that Rule 26(b)(5) codified a common process for eliminating
time-consuming delays in the determination of privilege issues by requiring the party
asserting the privilege to provide the party seeking discovery with a list or log that
describes the pertinent documents without disclosing the allegedly privileged
communications they contain. PaineWebber Grp., Inc. v. Zinsmeyer Trusts P’ship, 187
F.3d 988, 992 (8th Cir. 1999). Thus, Rule 26(b)(5)(A)’s requirement of a privilege log
as part of any privilege-based objection to discovery is nothing new.
      Finally, Rule 26(e) is relevant, here, because it imposes obligations to correct or
supplement prior discovery answers, as follows:
             (e)    Supplementing Disclosures and Responses.
                    (1)    In General. A party who has made a disclosure
                           under Rule 26(a)--or who has responded to an
                           interrogatory, request for production, or request


                                           26

   Case 3:14-cv-03041-MWB-CJW Document 136 Filed 03/13/17 Page 26 of 45
                            for admission--must supplement or correct its
                            disclosure or response:
                            (A)    in a timely manner if the party learns that
                                   in some material respect the disclosure or
                                   response is incomplete or incorrect, and
                                   if the additional or corrective information
                                   has not otherwise been made known to
                                   the other parties during the discovery
                                   process or in writing; or
                            (B)    as ordered by the court.
Fed. R. Civ. P. 26(e).
       The discovery responses at issue, here, are to requests for interrogatories, pursuant
to Rule 33, and requests for production of documents, pursuant to Rule 34. The specific
requirements of Rules 33 and 34 at issue are the requirements for objections. Rule 33
provides, in pertinent part, as follows:
              (4)    Objections. The grounds for objecting to an
                     interrogatory must be stated with specificity. Any
                     ground not stated in a timely objection is waived unless
                     the court, for good cause, excuses the failure.
              (5)    Signature. The person who makes the answers must
                     sign them, and the attorney who objects must sign any
                     objections.
FED. R. CIV. P. 33(b)(4) (emphasis added). Similarly, Rule 34 provides, in pertinent
part, as follows:
              (B)    Responding to Each Item. For each item or category,
                     the response must either state that inspection and
                     related activities will be permitted as requested or state
                     with specificity the grounds for objecting to the request,
                     including the reasons. The responding party may state
                     that it will produce copies of documents or of
                     electronically stored information instead of permitting

                                             27

   Case 3:14-cv-03041-MWB-CJW Document 136 Filed 03/13/17 Page 27 of 45
                     inspection. The production must then be completed no
                     later than the time for inspection specified in the
                     request or another reasonable time specified in the
                     response.
              (C)    Objections. An objection must state whether any
                     responsive materials are being withheld on the basis of
                     that objection. An objection to part of a request must
                     specify the part and permit inspection of the rest.
FED. R. CIV. P. 34(b)(2)(B) & (C) (emphasis added).
       The key requirement in both Rules 33 and 34 is that objections require
“specificity.” As I explained a decade-and-a-half ago, “the mere statement by a party
that the interrogatory [or request for production] was overly broad, burdensome,
oppressive and irrelevant is not adequate to voice a successful objection”; “[o]n the
contrary, the party resisting discovery must show specifically how . . . each interrogatory
[or request for production] is not relevant or how each question is overly broad,
burdensome or oppressive.” St. Paul Reins. Co., Ltd., 198 F.R.D. at 511-12 (internal
quotation marks and citations omitted). In other words, “merely assert[ing] boilerplate
objections that the discovery sought is vague, ambiguous, overbroad, unduly
burdensome, etc. . . . without specifying how each [interrogatory or] request for
production is deficient and without articulating the particular harm that would accrue if
[the responding party] were required to respond to [the proponent’s] discovery requests”
simply is not enough. Id. at 512. Again, I have found nothing to suggest that such
responses are now considered adequate; rather, there is precedent too ample to cite, in
both the Eighth Circuit and the Seventh Circuit, where the lead attorneys for both sides
have their offices, demonstrating the insufficiency of such responses.
       Although Rule 33 contains an express “waiver” provision, explaining that a party
has waived “[a]ny ground not stated in a timely objection,” Rule 34 does not.


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   Case 3:14-cv-03041-MWB-CJW Document 136 Filed 03/13/17 Page 28 of 45
Nevertheless, as a magistrate judge of this court recently explained, that does not mean
that inadequate responses to requests for documents do not constitute waivers:
                     Federal Rule of Civil Procedure 34 does not explicitly
             provide that a party waives an objection by failing to file a
             timely response to a request for production of documents.
             Nonetheless, courts have routinely found that “if the
             responding party fails to make a timely objection, or fails to
             state the reason for an objection, he may be held to have
             waived any or all of his objections.” Scaturro v. Warren &
             Sweat Mfg. Co., Inc., 160 F.R.D. 44, 46 (M.D. Pa. 1995)
             (citing 4A Moore’s Federal Practice, § 34.05[2] ) (emphasis
             in original). See also Henry v. National Housing Partnership,
             2007 WL 2746725 (N.D. Fla. 2007) (finding that the law is
             “well settled” that a party’s failure to file timely objections to
             a request for production of documents constitutes a waiver of
             the objections); Krewson v. City of Quincy, 120 F.R.D. 6, 7
             (D. Mass. 1988) (“Any other result would completely
             frustrate the time limits contained in the Federal Rules and
             give a license to litigants to ignore the time limits for
             discovery without any adverse consequences.”).
                    In Cargill, Inc. v. Ron Berge Trucking, Inc., 284
             F.R.D. 421, 424 (D. Minn. 2012), the Court addressed the
             issue of whether “the same waiver provision found in Rule
             33(b)(4) applies to document requests under Rule 34.” After
             reviewing the history of the “automatic waiver provision”
             found in Rule 33, the Court noted that recent decisions
             concerning waiver of objections “reflect broad exercise of
             judicial discretion.” Id. at 425.
Sellars v. CRST Expedited, Inc., No. C15-0117, 2016 WL 4771087, at *2 (N.D. Iowa
Sept. 13, 2016) (footnote omitted).       The court then listed factors to consider in
determining whether to excuse a waiver, and conditions under which courts will impose
a waiver. Id.


                                            29

   Case 3:14-cv-03041-MWB-CJW Document 136 Filed 03/13/17 Page 29 of 45
                          B.     Improper discovery responses
      Although the federal discovery rules were intended to facilitate discovery and
refocus cases on the legal merits, “the discovery process has supplanted trial as the most
contentious stage in litigation.”   London, Resolving the Civil Litigant’s Discovery
Dilemma, 26 GEO. J. LEGAL ETHICS at 837. Improper discovery responses necessarily
add to the contentiousness of litigation, because they start with non-disclosure as their
premise.
      The recitation, in the preceding section, of the specific requirements of the
applicable discovery rules highlights what is wrong with the sort of “boilerplate”
objections that the parties used in this case, but it does not address their full negative
impact:
             The problems with using boilerplate objections, however, run
             deeper than their form or phrasing. Their use obstructs the
             discovery process, violates numerous rules of civil procedure
             and ethics, and imposes costs on litigants that frustrate the
             timely and just resolution of cases.
Jarvey, Boilerplate Discovery Objections, 61 DRAKE L. REV. at 916. There may also be
practical consequences for the party who asserts such objections. “District courts often
repeat the warning: ‘Boilerplate, generalized objections are inadequate and tantamount
to not making any objection at all.’” Id. (citing Walker v. Lakewood Condo. Owners
Ass’n, 186 F.R.D. 584, 587 (C.D. Cal. 1999) (citations omitted); Adelman v. Boy Scouts
of Am., 276 F.R.D. 681, 688 (S.D. Fla. 2011) (“[J]udges in this district typically
condemn boilerplate objections as legally inadequate or meaningless.” (citations omitted)
(internal quotation marks omitted)); Nissan N. Am., Inc. v. Johnson Elec. N. Am., Inc.,
No. 09-CV-11783, 2011 WL 669352, at *2 (E.D. Mich. Feb. 17, 2011) (refusing to
consider “[b]oilerplate or generalized objections”)); see id. at 918-19 (identifying other
reasons that “boilerplate” objections are disfavored).

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   Case 3:14-cv-03041-MWB-CJW Document 136 Filed 03/13/17 Page 30 of 45
       I now find, without doubt or hesitation, that the discovery responses by the parties
in this case that I identified as potentially abusive and/or not in compliance with the
applicable rules, but mere “boilerplate” objections, are just that. I am not convinced that
the possible exceptions to the “boilerplate” objections that I noted in two of Liguria’s
responses or the three additional responses that Liguria now cites are sufficient to “show
specifically how . . . each interrogatory [or request for production] is not relevant or how
each question is overly broad, burdensome or oppressive.” St. Paul Reins. Co., Ltd.,
198 F.R.D. at 511-12. Even if I accepted all five of the responses that Liguria has
identified as adequate, there are certainly plenty of others that are not.
       First, as I suggested, in the table, above, several discovery responses by both
parties violate Rule 26(d). It is not a valid objection that interrogatories or requests for
documents are “premature” if, as is the case here, they were propounded after the time
specified in Rule 26(d)(1) or (d)(2) and there was no order specifying the timing of
discovery on any specific issues. Rule 26(d)(3) also makes clear that there is no limitation
on the sequence of discovery and that a party cannot delay responding to discovery simply
because the other party has not yet responded to its discovery.              FED. R. CIV. P.
26(d)(3)(B); see also id., Advisory Committee Notes, 1970 Amendments. Moreover, it
is not an “objection” at all, and certainly not a valid one, that a party may not have a
response or responsive documents, yet, or that the party may have to supplement its
response later, because Rule 26(e) imposes that very obligation to supplement responses.
See id. at 26(e).
       The parties’ attempts to invoke privileges as the bases for various objections, as
indicated in the table, are, likewise, deficient, because they violate the requirements of
Rule 26(b)(5)(A)(iii). Conspicuously absent from either parties’ objections based on
“privileges” is the required list or log that describes the pertinent documents without
disclosing the allegedly privileged communications they contain.             FED. R. CIV. P.

                                             31

   Case 3:14-cv-03041-MWB-CJW Document 136 Filed 03/13/17 Page 31 of 45
26(b)(5)(A)(iii); PaineWebber Grp., Inc., 187 F.3d at 992.           Thus, the responses
improperly hampered, rather than facilitated, the timely and inexpensive determination
of privilege issues.   PaineWebber Grp., Inc., 187 F.3d at 992 (the privilege log
requirement codified in Rule 26(b)(5) was designed to eliminate time-consuming delays
in the determination of privilege issues).
       The rest of the discovery responses identified in the table fail the “specificity”
requirements of Rules 33(b)(4) and 34(b)(2) in various ways, while utterly failing to carry
the objecting party’s burden to demonstrate lack of relevance or undue burdensomeness
under Rule 26(b)(1). St. Paul Reins. Co., Ltd., 198 F.R.D. at 511. As the Eighth Circuit
Court of Appeals has explained, an objecting party does not have “the unilateral ability
to dictate the scope of discovery based on their own view of the parties’ respective
theories of the case,” so that a “lack of relevance” objection, without explanation, is
contrary to the rules. Sentis Grp., Inc., 763 F.3d at 925. When, as here, an objecting
party makes no attempt to “show specifically how . . . each interrogatory [or request for
production] is not relevant or how each question is overly broad, burdensome or
oppressive,” and no attempt to “articulat[e] the particular harm that would accrue if [the
responding party] were required to respond to [the proponent’s] discovery requests,” but
relies, instead, on “the mere statement . . . that the interrogatory [or request for
production] was overly broad, burdensome, oppressive and irrelevant,” the response “is
not adequate to voice a successful objection”; instead, the response is an unacceptable
“boilerplate” objection. St. Paul Reins. Co., Ltd., 198 F.R.D. at 511-12 (internal
quotation marks and citations omitted). Moreover, simply stating that a response is
“subject to” one or more general objections does not satisfy the “specificity”
requirement, because, for example, it leaves the propounding party unclear about which
of the numerous general objections is purportedly applicable as well as whether the



                                             32

   Case 3:14-cv-03041-MWB-CJW Document 136 Filed 03/13/17 Page 32 of 45
documents or answers provided are complete, or whether responsive documents are being
withheld. See, e.g., FED. R. CIV. P. 34(b)(2)(C).
       I also reject Griffith’s argument that its general objections to discovery requests
or its “boilerplate” objections to certain specific requests were to assure that Griffith was
not waiving its rights while the parties met and conferred about the scope of privileges,
pertinent time periods, and a myriad of other issues in this complex case. As I pointed
out, above, under both Rule 33 and 34, any ground not stated in a timely objection is
waived, unless the court excuses the failure. Sellars, 2016 WL 4771087 at *2. Indeed,
the idea that such general or “boilerplate” objections preserve any objections is an “urban
legend.”   Jarvey, Boilerplate Discovery Objections, 61 DRAKE L. REV. at 925-26
(quoting Carmichael Lodge No. 2103, Benevolent & Protective Order of Elks of U.S. of
Am. v. Leonard, No. CIV S-07-2665 LKK GGH, 2009 WL 1118896, at *4 (E.D. Cal.
Apr. 23, 2009)). Chief Justice Menis E. Ketchum II of the West Virginia Supreme Court
of Appeals had particularly harsh yet insightful condemnations for such practices:
              Many federal courts have opined that “subject to” or “without
              waiving” objections are misleading, worthless and without
              legitimate purpose or effect. They reserve nothing. As one
              federal judge observed, “The Parties shall not recite a
              formulaic objection followed by an answer to the request. It
              has become common practice for a Party to object on the basis
              of any of the above reasons, and then state that
              ‘notwithstanding the above,’ the Party will respond to the
              discovery request, subject to or without waiving such
              objection. Such an objection and answer preserves nothing
              and serves only to waste the time and resources of both the
              Parties and the Court. Further, such practice leaves the
              requesting Party uncertain as to whether the question has
              actually been fully answered or whether only a portion of the
              question has been answered.”



                                             33

   Case 3:14-cv-03041-MWB-CJW Document 136 Filed 03/13/17 Page 33 of 45
Chief Justice Menis E. Ketchum II, Impeding Discovery:             Eliminating Worthless
Interrogatory Instructions And Objections, 2012-JUN W. VA. L. 18, 19 (2012) (citation
omitted).   He then observed,
              Our circuit judges are swamped with motions to compel
              regarding discovery. Stiff sanctions by judges for each
              violation would have a dramatic effect on these unauthorized
              boilerplate objections. The word would spread quickly, and
              the practice would suddenly stop. “Without waiving” and
              “subject to” objections are cute and tricky but plainly violate
              the purpose of our Rules of Civil Procedure: “to secure just,
              speedy and inexpensive determination of every action.”
Id. at 20 (citation omitted).
       Thus, the general objections and the “boilerplate” objections to specific requests
did not preserve the parties’ rights, or, at the very least, they ran a substantial risk of
delaying and increasing the costs of discovery, because they provided the opposing party
with no clue how to begin narrowing the issue, and because the court might have to
become involved to determine whether any waiver should be excused. Sellars, 2016 WL
4771087 at *2. A better approach to preserving rights and narrowing the scope of
discovery, and one likely to cause less ultimate delay and expense, would be to request
an extension of time to respond and to confer on troublesome discovery requests. Yet
another approach would have been to request an ex parte and in camera review of certain
documents by a magistrate judge, who might quickly render an opinion on whether the
documents in question were discoverable.


                                    C.     Sanctions
       This litany of discovery abuses leads to the question of whether sanctions are
appropriate for such misconduct.      I am not alone in thinking that more frequent



                                            34

   Case 3:14-cv-03041-MWB-CJW Document 136 Filed 03/13/17 Page 34 of 45
application of sanctions by trial judges might have a beneficial impact. As Chief Justice
Kechum wrote,
             Civil lawyers who are brave enough to appear in front of
             juries are becoming extinct. Perhaps they no longer have the
             time to appear in front of juries because they are dealing with
             pusillanimous objections to interrogatories and reading pages
             and pages of mindless interrogatory instructions. I wish more
             judges would punish this nonsense. Even better: I wish judges
             could force these lawyers who play games with interrogatories
             to appear before juries. These discovery-abusing lawyers
             would quickly find that you can’t win a jury trial by being
             cute or tricky; you only win by doing the hard work.
Chief Justice Ketchum II, Impeding Discovery, 2012-JUN W. VA. L. at 21 (emphasis
added); accord Jarvey, Boilerplate Discovery Objections, 61 DRAKE L. REV. at 932
(“Judges are in a unique position to deter the use of unethical boilerplate discovery
objections. Unlike attorneys, judges may rely on their authority to issue sanctions under
Federal Rule of Civil Procedure 26 and on the inherent power of the court. In order to
curb boilerplate objections, judges should be more willing to dole out sanctions against
lawyers who abuse the discovery process by issuing these objections.”          (footnotes
omitted). On the other hand, as I pointed out at the beginning of this decision, imposing
sanctions is an odious task. As one commentator has observed,
             Although courts certainly have the power to sanction
             discovery violators, many are reluctant to impose severe
             sanctions in the discovery context because of the oft-
             enunciated policy that cases should be decided on their merits.
             Also, though they rarely say so, many judges are reluctant to
             impose sanctions that may adversely affect the professional
             reputations and livelihoods of lawyers who practice before
             them.




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   Case 3:14-cv-03041-MWB-CJW Document 136 Filed 03/13/17 Page 35 of 45
Beckerman, Confronting Civil Discovery’s Fatal Flaws, 84 MINN. L. REV. at 511. I turn
to the court’s authority to impose sanctions and whether doing so is appropriate in this
case.
        As I have pointed out, “Rule 26(g) of the Federal Rules of Civil Procedure imposes
on counsel and parties an affirmative duty to conduct pretrial discovery in a responsible
manner.” St. Paul Reins. Co., Ltd., 198 F.R.D. at 515 (citing FED. R. CIV. P. 26(g),
Advisory Committee Notes to 1983 Amendments).             The Rule specifically requires
certification that the responses or objections to discovery requests are “not interposed for
any improper purpose, such as to harass or to cause unnecessary delay or needless
increase in the cost of litigation.” FED. R. CIV. P. 26(g)(2)(B). Thus, this Rule allows
the court to impose sanctions on the signer of a discovery response when the signing of
the response is incomplete, evasive, or objectively unreasonable under the circumstances.
St. Paul Reins. Co., Ltd., 198 F.R.D. at 515. Even if the opposing party “did not seek
sanctions pursuant FED. R. CIV. P. 26(g), the court has authority to make a sua sponte
determination as to whether Rule 26(g) sanctions should be imposed.” Id. Rule 26(g)(3)
states, “The sanction may include an order to pay the reasonable expenses, including
attorney’s fees, caused by the violation.” FED. R. CIV. P. 26(g)(3). The Eighth Circuit
Court of Appeals has rejected the notion “that it is an abuse of discretion for a district
court to impose something other than the minimally punitive sanction available within the
range of possible sanctions,” flatly stating, “[i]t is not.” Sentis Grp., Inc., 763 F.3d at
926.
        More specifically, as to the basis for determining whether sanctionable conduct
has occurred and what sanctions to apply, I have explained as follows:
              The Advisory Committee’s Notes indicate that the “nature of
              sanctions is a matter of judicial discretion to be exercised in
              light of the particular circumstances.” FED.R.CIV.P. 26(g),
              Advisory Committee Notes to the 1983 Amendments. The

                                            36

   Case 3:14-cv-03041-MWB-CJW Document 136 Filed 03/13/17 Page 36 of 45
              standard for imposing Rule 26(g) sanctions is objective. The
              court tests the signer’s certification under an objective
              standard of reasonableness, except that it may inquire into the
              signer’s actual knowledge and motivation to determine
              whether a discovery request, response or objection was
              interposed for an improper purpose. Oregon RSA No. 6 v.
              Castle Rock Cellular, 76 F.3d 1003, 1007 (9th Cir.1996);
              accord Zimmerman v. Bishop Estate, 25 F.3d 784, 790 (9th
              Cir.), cert. denied, 513 U.S. 1043, 115 S.Ct. 637, 130
              L.Ed.2d 543 (1994). While there is no requirement that the
              court find bad faith to find improper purpose, see Oregon RSA
              No. 6, 76 F.3d at 1008, outward behavior that manifests
              improper purpose may be considered in determining objective
              improper purpose deserving sanction. See Townsend v.
              Holman Consulting Corp., 929 F.2d 1358, 1366 (9th
              Cir.1990) (Rule 11 sanctions). The certification by the signer
              is tested as of the time the discovery paper is signed. The
              court must strive to avoid the wisdom of hindsight in
              determining whether the certification was valid at the time of
              the signature, and all doubts are to be resolved in favor of the
              signer. See, e.g., Bergeson v. Dilworth, 749 F.Supp. 1555,
              1566 (D.Kan.1990). However, each signing of a new
              discovery request, response, or objection must be evaluated
              in light of the totality of the circumstances known at the time
              of signing. Therefore, the practical import of Rule 26(g) is to
              require vigilance by counsel throughout the course of the
              proceeding. Chapman & Cole v. Itel Container Int’l, B.V.,
              865 F.2d 676 (5th Cir.), cert. denied, 493 U.S. 872, 110
              S.Ct. 201, 107 L.Ed.2d 155 (1989).
St. Paul Reins. Co., Ltd., 198 F.R.D. at 516 (footnotes omitted).
       Liguria proposes that, if I conclude that sanctions are appropriate, notwithstanding
Liguria’s contention that it did not make its responses for any improper purposes, the
proper sanction is the submission of a presentation to either (1) a group of civil litigation
trial attorneys at the Chicago Bar Association or Illinois State Bar Association, or (2) a

                                             37

   Case 3:14-cv-03041-MWB-CJW Document 136 Filed 03/13/17 Page 37 of 45
group of law students at a Chicago area law school engaged in an advanced civil
procedure course covering the rules of discovery.          Liguria suggests that such a
presentation include the following topics: (a) Rules 26, 33, and 34 of the Federal Rules
of Civil Procedure; (b) proper approaches to propounding and responding to discovery
requests; and (c) reasons why “boilerplate” objections are improper.
       Griffith argues that, as to the matters identified in the Show Cause Order, this case
does not involve the sort of extreme misconduct in discovery that should warrant
sanctions.   Nevertheless, Griffith’s counsel professes to having no objection to
participating in a continuing legal education program or providing such a program,
regarding the problems relating to “boilerplate objections,” or to writing an article on
those problems for the court to review and approve. Griffith asserts, however, that under
the facts of this case to impose a sanction, rather than a voluntary undertaking, would
constitute an abuse of discretion.
       Ordinarily, I would likely find the parties’ use of what they admit are “standard,”
albeit plainly improper, responses to discovery requests is objective evidence of intent to
delay or impede discovery. St. Paul Reins. Co., Ltd., 198 F.R.D. at 517. Although I
find that it makes a very poor jury instruction on “intent” for lay jurors, “[i]t is a well-
accepted proposition that one ordinarily intends the natural and probable consequences of
one’s actions.” See, e.g., Red River Freethinkers v. City of Fargo, 764 F.3d 948, 955
(8th Cir. 2014). The “natural and probable consequences” of “boilerplate” objections is
delay and impediment of discovery, not the narrowing of issues and the avoidance of
expense and delay toward which the discovery rules are aimed. Ordinarily, I would also
likely find that the impropriety of employing such frivolous objections in every single
discovery response also demonstrates the parties’ obstructionist attitude toward discovery
and would further confirm suspicions that the responses were interposed for an improper
purpose. Cf. St. Paul Reins. Co., Ltd., 198 F.R.D. 517.

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   Case 3:14-cv-03041-MWB-CJW Document 136 Filed 03/13/17 Page 38 of 45
       I conclude that this is not an “ordinary” case where the parties’ responses to
discovery were not only contrary to the applicable rules and “improper,” but warrant
some sanction. In this case, I do not have lawyers who are not “brave enough to appear
in front of juries,” but able trial lawyers; nor do I find that they focused on “pusillanimous
objections” as an end in themselves or as part of a campaign to avoid timely and just
disposition of this case. Compare Chief Justice Ketchum II, Impeding Discovery, 2012-
JUN W. VA. L. at 21. The parties agree, and I find, that they have had a cooperative
and professional relationship during discovery, at least until the issues addressed in
Griffith’s Motion arose.     Indeed, it appears to me that counsel for the parties did
everything that the court might expect them to do to confer and cooperate to work out
issues about the scope of discovery. It is also clear to me that both parties’ reliance on
improper “boilerplate” objections is the result of a local “culture” of protectionist
discovery responses, even though such responses are contrary to the decisions of every
court to address them. Notable by their absence from the parties’ responses to the Order
To Show Cause are citations to any published rulings of any court approving the kind of
“boilerplate” responses that the parties used in this case, and the parties did not try to
raise frivolous defenses for their conduct when called on it. The fact that the parties were
able to work out most of their discovery disputes through consultation and cooperation is
a clear indication that their “boilerplate” responses were completely unnecessary to
protect any supposed rights or interests, but they do not warrant sanctions, in the
circumstances presented, here.
       I have suggested, more than once, in this opinion that judges should be more
involved in trying to eliminate discovery practices that are improper. Indeed, nearly
twenty years ago, a commentator explained that all of the groups of lawyers involved in
his conversations with large-firm litigators “pointed to judges as pivotal to changing how
the system operates.” He cautioned,

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   Case 3:14-cv-03041-MWB-CJW Document 136 Filed 03/13/17 Page 39 of 45
              Yet it seems clear after talking to the judges about how they
              view these disputes, as well as after talking to lawyers about
              the tactics they deploy, that judicial intervention is not likely
              to be the answer. Judges do not have the time, resources, or
              inclination to constantly monitor the discovery process.
              Stronger judges who were committed to changing the norms
              of the system would probably help. They will need
              considerably more resources to do so, however.
Nelson, The Discovery Process as a Circle of Blame, 67 FORDHAM L. REV. at 804-05.
One resource available to judges, when they encounter attorneys willing to do so, is to
use those attorneys to spread proper practices, rather than improper ones
       Thus, I strongly encourage counsel for both parties to take the steps that they have
volunteered to take to improve discovery practices at their own firms and to educate their
colleagues and law students on proper discovery responses. I would be gratified to see
the parties prepare presentations to either (1) a group of civil litigation trial attorneys at
the Chicago Bar Association or Illinois State Bar Association, or (2) a group of law
students at a Chicago area law school engaged in an advanced civil procedure course
covering the rules of discovery and, in particular, (a) Rules 26, 33, and 34 of the Federal
Rules of Civil Procedure; (b) proper approaches to propounding and responding to
discovery requests; and (c) reasons why “boilerplate” objections are improper. Because
no sanctions are imposed, I neither require them to do so nor need to review what they
intend to do. These are very honorable, highly skilled, extremely professional and
trustworthy lawyers. The legal culture of “boilerplate” discovery objections will not
change overnight. I trust these lawyers to do their part, as I will do mine.


                                  III.    CONCLUSION
       Federal discovery rules and the cases interpreting them uniformly finding the
“boilerplate” discovery culture impermissible are not aspirational, they are the law.

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   Case 3:14-cv-03041-MWB-CJW Document 136 Filed 03/13/17 Page 40 of 45
What needs to be done? I am confident, based on the sincere representations from lead
counsel in this case, that they will be ambassadors for changing the “boilerplate”
discovery objection culture in both their firms. I also encourage them to change the
“boilerplate” culture with other firms that they come up against in litigation. I encourage
all lawyers, when they receive “boilerplate” objections, to informally request that
opposing counsel withdraw them by citing the significant body of cases that condemn the
“boilerplate” discovery practice. If opposing counsel fail to withdraw their “boilerplate”
objections, the lawyers should go to the court and seek relief in the form of significant
sanctions—because the offending lawyers have been warned, given a safe harbor to
reform and conform their “boilerplate” discovery practices to the law, and failed to do
so.
        The second part of this process is for judges to faithfully apply the discovery rules
and put an end to “boilerplate” discovery by imposing increasingly severe sanctions to
change the culture of discovery abuse. I realize my judicial colleagues, especially state
trial court judges, are overwhelmed with cases, deluged with discovery matters, likely
sick and tired of them, and lack the resources needed to deal with them in as timely a
manner as they aspire to. In my view, the imposition of increasingly severe sanctions
will help solve the problems. Lawyers are advocates and trained to push the envelope—
rightly so. Judges need to push back, get our judicial heads out of the sand, stop turning
a blind eye to the “boilerplate” discovery culture and do our part to solve this cultural
discovery “boilerplate” plague. Like Chief Justice Ketchum, I am convinced that “[s]tiff
sanctions by judges for each violation would have a dramatic effect on these unauthorized
boilerplate objections. The word would spread quickly, and the practice would suddenly
stop.”14


        14
             Chief Justice Ketchum II, Impeding Discovery, 2012-JUN W. VA. L. at 20.

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      Case 3:14-cv-03041-MWB-CJW Document 136 Filed 03/13/17 Page 41 of 45
       The addiction to “boilerplate” discovery objections has been exacerbated by an
unintended consequence of a 1980 amendment to Rule 5 of the Federal Rules of Civil
Procedure. That amendment exempted interrogatories and requests for documents, as
well as their responses, from filing with the court. The rationales—“the added expense”
of copying and the “serious problems of storage in some districts”— made some sense at
the time.15 However, judges no longer have access to discovery requests and their
responses, unless brought to their attention by motion. Thus, because both sides to
federal litigation are so often afflicted with this addiction, there is not only no incentive
to bring the matter to the court’s attention, there is a perverse incentive to bilaterally
succumb to the addiction without the need to ever inform the court of the parties’
“boilerplate” addiction. This makes the discovery of “boilerplate” addiction much more
difficult for judges. “Boilerplate” responses cause the very harm that justifies their
prohibition, even if neither party brings them to the court’s attention.
       To address the serious problem of “boilerplate” discovery objections, my new
Supplemental Trial Management Order advises the lawyers for the parties that “in
conducting discovery, form or boilerplate objections shall not be used and, if used, may
subject the party and/or its counsel to sanctions.16 Objections must be specific and state


       15
         See FED. R. CIV. P. 5, Advisory Committee Notes on 1980 Amendment. Of
course, the drafters of this 1980 amendment could not have anticipated that copying costs
and storage space would be far less of a problem in the electronic age in which lawyers
and judges now work. But unintended consequences of civil rules of procedure, which
often render the proposed cure worse than the alleged disease, are nothing new. See
e.g., Mark W. Bennett, Essay: The Grand Poobah And Gorillas In Our Midst: Enhancing
Civil Justice In The Federal Courts Courts--Swapping Discovery Procedures In The
Federal Rules Of Civil And Criminal Procedure And Other Reforms Like Trial By
Agreement, 15 NEV. L.J., 1293, 1300 (Summer 2015).
       16
          My new Supplemental Trial Management Order was implemented prior to these
issues arising in this case, but it is not applicable, here, because I only started using it in

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   Case 3:14-cv-03041-MWB-CJW Document 136 Filed 03/13/17 Page 42 of 45
an adequate individualized basis.” The Order also imposes an “affirmative duty to notify
the court of alleged discovery abuse” and warns of the possible sanctions for
obstructionist discovery conduct.17


2017.
        17
         The portion of the Supplemental Trial Management Order prohibiting
“boilerplate” objections continues, as follows:
             For example:
                    1.     When claiming privilege or work product, the
             parties must comply with Fed. R. Civ. P. 26(b)(5)(A).
                    2.    The Court does not recognize “object as to
             form” as a valid objection to a deposition question; rather, the
             objecting party must state the basis for the form objection.
             e.g. compound, argumentative, etc.
                   3.     Attorneys cannot respond to any discovery
             request with something similar to “blanket objections and a
             statement that discovery would be provided ‘subject to and
             without’ waiving the objections.”      See, e.g. Network
             Tallahassee, Inc., V. Embarq Corp., 2010 WL 4569897
             (N.D. Fla. 2010).
After defining and prohibiting other obstructionist discovery conduct, the Supplemental
Trial Management Order imposes an “affirmative duty to notify the court of alleged
discovery abuse” and warns of the possibility of sanctions, as follows:
                     D.    AFFIRMATIVE DUTY TO NOTIFY THE
             COURT OF ALLEGED DISCOVERY ABUSE. Any party
             subjected to obstructionist conduct in discovery or depositions
             or conduct that the party reasonably believes to be intended to
             impede, delay, or frustrate the fair examination of deponents
             or the process of discovery shall promptly file a Report to the
             Court in writing, advising the Court of the specific nature of
             the alleged discovery abuse, regardless of whether or not the
             party intends to seek sanctions on its own motion. The Court

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   Case 3:14-cv-03041-MWB-CJW Document 136 Filed 03/13/17 Page 43 of 45
       I recall the words of a former U.S. Attorney General in a different context: “Each
time a [person] stands up for an ideal, or acts to improve the lot of others, or strikes out
against injustice, [they] send[ ] forth a tiny ripple of hope, and crossing each other from
a million different centers of energy and daring, those ripples build a current which can
sweep down the mightiest walls of oppression and resistance.”18 I pledge to do my part—
enough of the warning shots across the bow.



              will then determine whether to issue a notice to show cause
              why sanctions should not be imposed, conduct a hearing after
              notice, and impose sanctions, if appropriate.
                     E.    SANCTIONS. Sanctions for obstructionist
              conduct or other misconduct during discovery may include,
              but are not limited to, individually or in combination, the
              following:
                     1.     monetary sanctions;
                     2.     attendance at, or preparation of, a continuing
              legal education presentation or training video on appropriate
              and inappropriate discovery conduct tailored to the discovery
              violation;
                     3.    preparation and submission for publication of a
              law review or legal journal article on appropriate and
              inappropriate discovery conduct tailored to the discovery
              violation;
                     4.    revocation or suspension of pro hac vice status
              or admission to practice in the United States District Court
              for the Northern District of Iowa;
                     5.     sanctions in Fed. R. Civ. P. 37(b)(2)(A); or
                     6.     any other reasonable sanction.
       18
         Robert F. Kennedy, Day of Affirmation Address at Cape Town University (June
6, 1966) (transcript available at www.americanrhetoric.com/speeches/rfkcapetown.htm).

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   Case 3:14-cv-03041-MWB-CJW Document 136 Filed 03/13/17 Page 44 of 45
      The conduct identified in the Show Cause Order does not warrant sanctions,
notwithstanding that the conduct was contrary to the requirements for discovery responses
in the Federal Rules of Civil Procedure. NO MORE WARNINGS. IN THE FUTURE,
USING “BOILERPLATE” OBJECTIONS TO DISCOVERY IN ANY CASE BEFORE
ME PLACES COUNSEL AND THEIR CLIENTS AT RISK FOR SUBSTANTIAL
SANCTIONS.
      IT IS SO ORDERED.
      DATED this 13th day of March, 2017.



                                         ______________________________________
                                         MARK W. BENNETT
                                         U.S. DISTRICT COURT JUDGE
                                         NORTHERN DISTRICT OF IOWA




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   Case 3:14-cv-03041-MWB-CJW Document 136 Filed 03/13/17 Page 45 of 45
